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     ROBERT L. SHAPIRO (State Bar No. 43693)
1    LAW OFFICE OF ROBERT L. SHAPIRO
2
     10250 Constellation Blvd., 19th Floor
     Los Angeles, California 90067
3    Telephone (310) 559-7886
     Facsimile (310) 282-0888
4    Email rs@glaserweil.com

5    Attorney for Defendant
     ABDEL BASET JAWAD
6

7

8                              UNITED STATES DISTRICT COURT

9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      Case No. CR-06-00365-001-LJO

12                                  Plaintiff,      [Assigned to Hon. Lawrence J. O’Neill,
                                                    Courtroom 4]
13                   v.
14   ABDEL BASET JAWAD,                             ORDER GRANTING
                                                    EXONERATION OF BOND
15                                  Defendant.
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19          For good cause having been shown, in that Defendant Abdel Baset Jawad has duly
20   surrendered on November 18, 2013, to the Bureau of Prisons at Atwater, California.
21          Good cause having been shown, it is hereby Ordered that the bond in the above-
22   entitled case is exonerated:
23   ///
24   ///
25   ///
26   ///
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                     [PROPOSED] ORDER GRANTING EXONERATION OF BONDS
     Case 1:06-cr-00365-LJO-BAM Document 368 Filed 01/23/14 Page 2 of 2


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4    Fresno County Assessor ID        Fresno County Recorder Document ID
     Number, 500-270-09-S.            Number, 2013-0025442; recorded
5
                                      February 15, 2013.
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     IT IS SO ORDERED.
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       Dated:   January 22, 2014               /s/ Lawrence J. O’Neill
9                                          UNITED STATES DISTRICT JUDGE
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                  [PROPOSED] ORDER GRANTING EXONERATION OF BONDS
